78 F.3d 592
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppeIn re CALIFORNIA CANNERS and GROWERS, a CaliforniaAgricultural Nonprofit Cooperative Association, Debtor.Terry C. WHITNEY, Appellant,v.John M. ENGLAND, Trustee, Appellee.
    No. 95-15123.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 27, 1996.*Decided March 4, 1996.
    
      Before:  PREGERSON, CANBY, and HAWKINS, Circuit Judges.
      MEMORANDUM**
      In light of this court's recent opinions in Mosier v. Kroger Company (In re IRFM, Inc.), 65 F.3d 778 (9th Cir.1995), and John Mitchell, Inc. v. Steinbrugge (In re Hanna), 72 F.3d 114 (9th Cir.1995), we reverse and remand for further proceedings before the Bankruptcy Appellate Panel.
      REVERSED AND REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    